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CARTER L. WILLIAMS
DIRECT LINE: 713.470.6126
E-mail: carter.williams@sutherland.com



                                             August 19, 2011


VIA E-MAIL & FIRST CLASS MAIL

Mr. R. Chris Heck
Kirkland & Ellis LLP
300 North LaSalle Street
Chicago, IL 60654

           Re:        Responses to the BP Parties’ First Requests for Admission and
                      Interrogatories in In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the
                      Gulf of Mexico, on April 20, 2010, MDL No. 2179

Dear Chris:

       This letter responds to the issues raised in your August 11, 2011 letter. As indicated in
our August 10, 2011 letter, we are reviewing Transocean’s responses to RFAs 126-127, 130-153,
162, 218, 221-222, 245, 262, 275-276, 278, 281, 289, 309, 311-312, and 321, and we will
supplement those responses as needed. Similarly, we are reviewing and will supplement
Transocean’s responses to Interrogatories 1-7, 13, 17, 19-22, 24, 26-28, 30, 33, and 36-37. We
appreciate your efforts to resolve issues cooperatively.

      With regard to RFAs 101-105 and 108, we are reviewing and will supplement
Transocean’s responses. We appreciate your efforts to clarify those requests. With regard to
RFAs 46-67 and 282, Transocean’s position remains unchanged – RFAs 46-67 and 282
improperly seek a purely legal contention.

        Your August 11, 2011 letter also raises four issues regarding Transocean’s document
production. Please note that Transocean incorporates the specific and General Objections as
stated in its responses to each respective Request for Production.

        1.      Drafts of Transocean’s Investigation Report. Transocean maintains that drafts of
its investigation report are privileged and have been logged in accordance with Pretrial Order
No. 14.

       2.      Captain Kuchta’s license. Transocean has located and will produce a copy of the
Master’s License issued to Captain Kuchta on January 7, 2009. As mentioned in our August 10,
2011 letter, Captain’s Kuchta’s original license is believed to have gone down with the rig.
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        3.       Trim and Stability Documents. As mentioned in our August 10, 2011 letter,
Transocean is searching for and will produce non-privileged and responsive documents relating
to the trim and stability of the Deepwater Horizon, including trim and stability books that may
exist for the time period April 1 through April 20, 2010.

       4.     Well Advisor Documents. Transocean will search for and produce non-privileged
and responsive documents from Transocean’s Well Advisor program related to the Macondo
well.

         Please feel free to call me if you have any questions.

                                                       Sincerely,


                                                       Carter L. Williams




cc:      Rachel Clingman, Esq.
         Kerry Miller, Esq.
